 Fill in this information to identify the case:

  Debtor 1       Robert C. Aungst aka Robert C. Aungst, Sr.

  Debtor 2

 United States Bankruptcy Court for the: Middle District of Pennsylvania

 Case number :    1:19-bk-02464-HWV



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              NewRez LLC d/b/a Shellpoint Mortgage Servicing                              Court claim no.                                          8
     creditor:                                                                                        (if known):
     Last 4 digits of any number                                                                      Date of payment change:                     11/01/2022
     you use to identify the debtor's                                      1106                       Must be at least 21 days after date of
     account:                                                                                         this notice

                                                                                                      New total payment:                           $494.75
                                                                                                      Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                            Current escrow payment: $177.55                                New escrow payment: $174.39



Part : 2     Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                       New interest rate:
                     Current Principal and interest payment:                      New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                     New mortgage payment:




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Debtor 1 Robert C. Aungst aka Robert C. Aungst, Sr.                                 Case number (if known)           1:19-bk-02464-HWV
                First Name              Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


    /s/Christopher Giacinto                                                               Date
                                                                                                 10/07/2022
    Signature



Print:                       Christopher Giacinto                              Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email              PLGinquiries@padgettlawgroup.com




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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties
                                                                                                 10th
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

October, 2022.



                                                    /S/ Christopher Giacinto

                                                    ___________________________________
                                                    CHRISTOPHER GIACINTO
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




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                            SERVICE LIST (CASE NO. 1:19-bk-02464-HWV)

Debtor
Robert C. Aungst
512 Church Street
Lebanon, PA 17046
aka Robert C. Aungst, Sr.

Attorney
Tracy Lynn Updike
Mette, Evans & Woodside
3401 North Front Street
PO Box 5950
Harrisburg, PA 17110-0950

Trustee
Jack N Zaharopoulos (Trustee)
Standing Chapter 13 Trustee
8125 Adams Drive
Suite A
Hummelstown, PA 17036

Asst.U.S. Trustee
United States Trustee
228 Walnut Street
Suite 1190
Harrisburg, PA 17101




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